         Case 3:20-cv-04276-JSC Document 54 Filed 01/18/22 Page 1 of 1




                     Breonna UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                    CHIEF MAGISTRATE JUDGE JOSEPH C. SPERO

                                   ZOOM CIVIL MINUTES



 Case No.: 20-cv-04276-JSC (JCS)
Case Name: Richard v. City and County of San Francisco

 Date: January 18, 2022                       Time: 3 H
 Deputy Clerk: Karen Hom                      Digital Reporter: Zoom Meeting Time: 1:02-
                                              1:06
Attorney for Plaintiff: Jamir Davis
Attorney for Defendant: Raymond Rollan


                                   ZOOM PROCEEDINGS

(X)    Zoom Settlement Conference - Held

       (X) Case Settled      ( ) Case Did Not Settle       ( ) Partial Settlement

( )    Further Zoom Settlement Conference

       ( ) Case Settled      ( ) Case Did Not Settle       ( ) Partial Settlement

( )    Zoom Scheduling Conference to set Settlement Conference

( )    Further Zoom Settlement Conference

( )    Discovery Conference – Lead Trial Counsel Meet and Confer

( )    Zoom Status Conference

( )    Other

Notes: Settlement placed on the record. Settlement is subject to approval by the Board of
Supervisors for the City and County of San Francisco.
Parties in attendance: Breonna Richard, Plaintiff. Sgt. Walter Ware , SFPD Legal representative
for defendant.
